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   8                             UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11 RONALD J. COLLINS,                              Master File No.
                                                     5:15-cv-01771-CAS(KKx);
  12                    Plaintiff,                   c/w 5:15-CV-02470-CAS(KKx)
  13              vs.
  14 CITY OF COLTON; ET AL.                          [PROPOSED] JUDGMENT
  15                    Defendants.
                                                     Judge: Hon. Christina A. Snyder
  16
                                                     Trial Date:    May 30, 2017
  17
        AND RELATED CASES.
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  21 This Document Relates to Both Case
     Nos. 5:15-CV-02470-CAS(KKx) and
  22 5:15-cv-01771-CAS(KKx)
  23
  24                                         JUDGMENT
  25              This action came on for hearing before the Court, on March 27, 2017, Hon.
  26 Christina A. Snyder, District Judge Presiding, on Defendant Scott Chadwick’s
  27 Motion for Summary Judgment, and Defendants City of Colton’s and Detective
  28 Morenberg’s Motion for Summary Judgment. The evidence presented having been
       226817.1
                                                JUDGMENT
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   1 fully considered, the issues having been duly heard and a decision having been duly
   2 rendered on both Motions, IT IS ORDERED AND ADJUDGED that the plaintiff
   3 Ronald J. Collins take nothing, that the action be dismissed on the merits and that
   4 defendants Scott Chadwick, City of Colton, and Detective Morenberg recover their
   5 costs.
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   7 DATED: April 11, 2017
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                                             Hon. Christina A. Snyder
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       226817.1                                 2
                                            JUDGMENT
